     Case 21-01167-abl      Doc 96    Entered 09/02/22 16:17:36    Page 1 of 13


 1    GARMAN TURNER GORDON LLP                    MICHAEL D. NAPOLI, ESQ.
      GERALD M. GORDON                            Pro hac vice
 2    Nevada Bar No. 229                          AKERMAN LLP
      E-mail: ggordon@gtg.legal                   2001 Ross Avenue, Suite 3600
 3
      WILLIAM M. NOALL                            Dallas, Texas 75201
 4    Nevada Bar No. 3549                         Tel: (214) 720-4360 / Fax: (214) 720-8116
      E-mail: wnoall@gtg.legal                    Email: michael.napoli@akerman.com
 5    JARED SECHRIST                              ARIEL E. STERN, ESQ.
      Nevada Bar No. 10439                        Nevada Bar No. 8276
 6    E-mail: jsechrist@gtg.legal                 AKERMAN LLP
      7251 Amigo St., Suite 210
 7                                                1635 Village Center Circle, Suite 200
      Las Vegas, Nevada 89119
                                                  Las Vegas, Nevada 89134
 8    Tel: (725) 777-3000 / Fax: (725) 777-3112
                                                  Tel: (702) 634-5000 / Fax: (702) 380-8572
                                                  Email: ariel.stern@akerman.com
 9
      Attorneys for Tecumseh–Infinity Medical
10    Receivable Fund, LP

11
                            UNITED STATES BANKRUPTCY COURT
12
                                      DISTRICT OF NEVADA
13

14   In re:
                                                     Case No.: 21-14486-abl
15   INFINITY CAPITAL MANAGEMENT, INC.               Chapter 7
16                    Debtor.                        Adversary Case No. 21-01167-abl
17
                                                         CERTIFICATE OF SERVICE
     HASELECT-MEDICAL     RECEIVABLES                [ECF 90, ECF 91, ECF 92, AND ECF 93]
18
     LITIGATION     FINANCE      FUND
19   INTERNATIONAL SP,

20                    Plaintiff,

21   v.
                                                     Hearing Date: October 25, 2022
22   TECUMSEH-INFINITY                  MEDICAL      Hearing Time: 1:30 p.m.
     RECEIVABLES FUND, LP,
23
                      Defendant.
24

25
     TECUMSEH-INFINITY                  MEDICAL
26   RECEIVABLES FUND, LP,

27                    Counter-Claimant,
28
     Case 21-01167-abl    Doc 96     Entered 09/02/22 16:17:36      Page 2 of 13


 1   v.

 2   HASELECT-MEDICAL     RECEIVABLES
     LITIGATION     FINANCE      FUND
 3   INTERNATIONAL SP,
 4
                    Counter-Defendant.
 5

 6   HASELECT-MEDICAL     RECEIVABLES
     LITIGATION     FINANCE      FUND
 7   INTERNATIONAL SP,
 8                  Counter-Claimant
 9
     v.
10
     TECUMSEH-INFINITY                 MEDICAL
11   RECEIVABLES FUND, LP,

12                  Counter-Defendant.

13
                                CERTIFICATE OF SERVICE
14                          [ECF 90, ECF 91, ECF 92, AND ECF 93]
15
          1. Electronic Service
16
          On August 26, 2022, I served the following document(s):
17
               a.         TECUMSEH–INFINITY MEDICAL                              Dkt. No. 90
18                        RECEIVABLE FUND, LP MOTION FOR
                          PARTIAL SUMMARY JUDGMENT AS
19                        TO DIRECT PURCHASE RECEIVABLES
20
               b.         DECLARATION OF MICHAEL BELOTZ                          Dkt. No. 91
21                        IN SUPPORT OF MOTION FOR
                          PARTIAL SUMMARY JUDGMENT AS TO
22                        DIRECT PURCHASE RECEIVABLES

23             c.         TECUMSEH–INFINITY MEDICAL              Dkt. No. 92
                          RECEIVABLE FUND, LP’S STATEMENT
24
                          OF UNDISPUTED FACTS IN SUPPORT
25                        OF   MOTION   FOR     PARTIAL  SUMMARY
                          JUDGMENT AS TO DIRECT PURCHASE
26                        RECEIVABLES
27        I served the above-named document(s) by the following means to the persons as listed
28

                                                 2
     Case 21-01167-abl          Doc 96    Entered 09/02/22 16:17:36         Page 3 of 13


 1   below:

 2                            ECF System: See attached ECF Confirmation Sheets.

 3            I declare under penalty of perjury that the foregoing is true and correct.

 4            DATED this 2nd day of September, 2022.

 5                                                          /s/ Caitlin Halm
                                                            Caitlin Halm, an employee of
 6                                                          Garman Turner Gordon LLP
 7
              2. Electronic Service
 8
              On August 31, 2022, I served the following document(s):
 9
                   a.           NOTICE OF REMOTE HEARING                                   Dkt. No. 93
10                              REGARDING TECUMSEH–INFINITY
                                MEDICAL RECEIVABLE FUND, LP
11                              MOTION FOR PARTIAL SUMMARY
                                JUDGMENT AS TO DIRECT PURCHASE
12                              RECEIVABLES [ECF 90]
13
                        ECF System: See attached ECF Confirmation Sheet.
14
              I declare under penalty of perjury that the foregoing is true and correct.
15
              DATED this 2nd day of September, 2022.
16
                                                            /s/ Theresa D. Luciano
17                                                          Theresa D. Luciano, an employee of
                                                            Garman Turner Gordon LLP
18

19

20

21

22

23

24

25

26

27

28

                                                        3
01231224ÿ3673ÿ89      Case 21-01167-abl             Doc 96                     ÿ 16:17:36
                                                                  Entered 09/02/22                    Page 4 of 13
+,-.ÿ0ÿ123,245
678977:;8<=>ÿ@ABCDCEF8GCHIEADÿJCECIKALDCBÿDIFIMAFINOÿPIOAOECÿPQÿRSÿFCEQGBC@8IOPIOIFTÿGCHIEADÿJCECIKALDCBÿPQOHUÿDVÿ
 FWXYZÿ<X                        N[[\]YZÿ6ÿ^D<_ÿKY`<_a          bcd`YZÿ<=>
 DY<dÿE<_YZÿ68678=e87ffg: ÿ                                     ÿ
                                                               hijiÿlmnopqrstuÿvwqps
                                                                 xyzspytsÿw{ÿ|}~mm
O\]Yÿ[ÿC>Y]\]ÿP\>\`
FYÿ[>> \`ÿ<_<]\ÿ<_ÿY]Y\RYdÿ[ÿIDDIAGÿGSÿONADDÿYYYdÿÿg6:6966ÿ<ÿ:Z:ÿVGÿVHFÿ<dÿ[\>Ydÿÿg6:6966ÿ
vmz}ÿ|m} DV        @ABCDCEF8GCHIEADÿJCECIKALDCBÿDIFIMAFINOÿPIOAOECÿPQÿRSÿFCEQGBC@8IOPIOIFTÿGCHIEADÿJCECIKALDCBÿPQOHU
vmz}ÿ|q}p 678977:;8<=>
xwtq}ns             9
|q}p
xwto}sÿ}sÿ
G\ÿ[ÿBc<Wÿbcd`Yÿÿ¡¢ÿ£¤¡¥¢ÿ¦§ÿ̈©ÿªªÿª«ÿ©¡«¡¢ÿ¬¡«ÿ­®ÿ¡ÿªÿ̄«ÿ©«¡ÿ£¤¡¥¢
P\>Ydÿ=WÿIDDIAGÿGSÿONADDÿÿ=Y<>[ÿ[ÿFCEQGBC@8IOPIOIFTÿGCHIEADÿJCECIKALDCBÿPQOHUÿDVÿ^ONADDUÿIDDIAGa
FYÿ[>> \`ÿd]cY^_aÿ<Yÿ<__]\<Ydÿ\ÿ\_ÿ<_<]\Z
xwtq}nsÿ}ztpyrsywnG<\ÿH]cYÿ
°py±ynm²ÿ{y²}nm}I[\\W³ÿG\ÿ[ÿBc<Wÿbcd`YSXd[
´²}tspwnytÿwtq}nsÿjsmr
µBFAGVÿ=eY][B<X³IH¶g6;;fÿµH<Y¶g6:6966·ÿµP\>YOc=Y¶¸f:7¸6¸789
·ÿµg¸<7;6[fY9:::ff:¸[9<7¸=;d]ff9d7Y;[=<]=¸<¸=<d<¸66:Yf=<gYd]6f:<=d9
;][Y:<:<dgY6[=¸g9¸Y6=f=<gY¸;7<[<¸7f:Yf¸Y9;g:¸d6ff=¸d=··
¹º»¼ºº½¾»m²ÿ|wsyt}ÿ¿y²²ÿ}ÿ}²}tspwnytm²²uÿmy²}ÿswÿ
EDAJIBBCÿDSÿEJIBNBFNGNÿÿ=Y<>[ÿ[ÿIYY_YdÿV<WÿJNLCJFÿCSÿAFÀIOBNO
]><\__YÁR8>< [\S]Uÿ=e\]Y_ÁR8>< [\S]
MCJADHÿGÿMNJHNOÿÿ=Y<>[ÿ[ÿEcY8E><\<ÿFCEQGBC@8IOPIOIFTÿGCHIEADÿJCECIKALDCBÿPQOHUÿDV
``dÁ``S>Y`<>Uÿ=e\]Y_Á``S>Y`<>
MCJADHÿGÿMNJHNOÿÿ=Y<>[ÿ[ÿHY[Yd<ÿFCEQGBC@8IOPIOIFTÿGCHIEADÿJCECIKALDCBÿPQOHUÿDV
``dÁ``S>Y`<>Uÿ=e\]Y_Á``S>Y`<>
MALJICDDCÿASÿ@AGGÿÿ=Y<>[ÿ[ÿEcY8E><\<ÿFCEQGBC@8IOPIOIFTÿGCHIEADÿJCECIKALDCBÿPQOHUÿDV
`<ÁR[\S]Uÿ=e\]Y_Á``S>Y`<>
MALJICDDCÿASÿ@AGGÿÿ=Y<>[ÿ[ÿEcY8HY[Yd<ÿFCEQGBC@8IOPIOIFTÿGCHIEADÿJCECIKALDCBÿPQOHUÿDV
`<ÁR[\S]Uÿ=e\]Y_Á``S>Y`<>
MALJICDDCÿASÿ@AGGÿÿ=Y<>[ÿ[ÿHY[Yd<ÿFCEQGBC@8IOPIOIFTÿGCHIEADÿJCECIKALDCBÿPQOHUÿDV
`<ÁR[\S]Uÿ=e\]Y_Á``S>Y`<>
LAJFÿÀSÿDAJBCOÿÿ=Y<>[ÿ[ÿEcY8E><\<ÿ@ABCDCEF8GCHIEADÿJCECIKALDCBÿDIFIMAFINOÿPIOAOECÿPQOHÿIOFCJOAFINOADÿBV
LDAJBCOÁB@CASDAUÿ̧f6g¸f69Á[\>\`_Sd]eY=\dS]
LAJFÿÀSÿDAJBCOÿÿ=Y<>[ÿ[ÿEcY8HY[Yd<ÿ@ABCDCEF8GCHIEADÿJCECIKALDCBÿDIFIMAFINOÿPIOAOECÿPQOHÿIOFCJOAFINOADÿBV
LDAJBCOÁB@CASDAUÿ̧f6g¸f69Á[\>\`_Sd]eY=\dS]
LAJFÿÀSÿDAJBCOÿÿ=Y<>[ÿ[ÿV><\\[[ÿ@ABCDCEF8GCHIEADÿJCECIKALDCBÿDIFIMAFINOÿPIOAOECÿPQOHÿIOFCJOAFINOADÿBV
LDAJBCOÁB@CASDAUÿ̧f6g¸f69Á[\>\`_Sd]eY=\dS]
GIE@ACDÿHSÿOAVNDIÿÿ=Y<>[ÿ[ÿEcY8E><\<ÿFCEQGBC@8IOPIOIFTÿGCHIEADÿJCECIKALDCBÿPQOHUÿDV
\]<Y>S<X>\Á<eY<S]U
]\dWS[Y`c_Á<eY<S]Â]<Y\YSeYÃ_]<Á<eY<S]Â><c<S<RY<_Á<eY<S]Â<_Yd]eY>\Á<eY<S]ÂYY_<S=<Y<Á<eY<S]
GIE@ACDÿHSÿOAVNDIÿÿ=Y<>[ÿ[ÿHY[Yd<ÿFCEQGBC@8IOPIOIFTÿGCHIEADÿJCECIKALDCBÿPQOHUÿDV
\]<Y>S<X>\Á<eY<S]U
]\dWS[Y`c_Á<eY<S]Â]<Y\YSeYÃ_]<Á<eY<S]Â><c<S<RY<_Á<eY<S]Â<_Yd]eY>\Á<eY<S]ÂYY_<S=<Y<Á<eY<S]
IDDIAGÿGSÿONADDÿÿ=Y<>[ÿ[ÿHY[Yd<ÿFCEQGBC@8IOPIOIFTÿGCHIEADÿJCECIKALDCBÿPQOHUÿDV
  <>>Á``S>Y`<>Uÿ=e\]Y_Á``S>Y`<>
AJICDÿCSÿBFCJOÿÿ=Y<>[ÿ[ÿHY[Yd<ÿFCEQGBC@8IOPIOIFTÿGCHIEADÿJCECIKALDCBÿPQOHUÿDV
<\Y>S_YÁ<eY<S]Uÿ<eY<><_Á<eY<S]
61111!"#$%&0''&((7)22(**                                                                           %12
01231224ÿ3673ÿ89      Case 21-01167-abl              Doc 96                    ÿ 16:17:36
                                                                  Entered 09/02/22            Page 5 of 13
+,-.,,/0-123ÿ56789:ÿ;833ÿ<67ÿ2:ÿ:3:97=6<89133>ÿ?183:@ÿ76Aÿ




61111!"#$%&0''&((7)22(**                                              212
01231224ÿ3678ÿ9      Case 21-01167-abl            Doc 96                    ÿ 16:17:36
                                                                Entered 09/02/22                     Page 6 of 13
*+,-./0.1ÿ34/5-6607-89/:
;<=><<?@=ABCÿEFGHIHJK=LHMNJFIÿOHJHNPFQIHGÿINKNRFKNSTÿUNTFTJHÿUVÿWXÿKHJVLGHE=NTUNTNKYÿLHMNJFIÿOHJHNPFQIHGÿUVTMZÿI[ÿ
 K\]^_ÿA]                        S``ab^_ÿ;ÿcIAdÿP^eAdf           ghie^_ÿABC
 I^AiÿJAd^_ÿ;=;<=Bj=<kkl? ÿ                                      ÿ
                                                                mnonÿqrstuvwxyzÿ{|vux
                                                                  }~xu~yxÿ|ÿrr
T ab^ÿ`ÿHC^babÿUaCae
K^ÿ̀ CCaeÿAdAbaÿAdÿ^b^aW^iÿ̀ÿNIINFLÿLXÿTSFIIÿ^^^iÿÿl;?;>;;ÿAÿ?_lÿ[Lÿ[MKÿAiÿ̀aC^iÿÿl;?;>;;ÿ
{rÿr I[       EFGHIHJK=LHMNJFIÿOHJHNPFQIHGÿINKNRFKNSTÿUNTFTJHÿUVÿWXÿKHJVLGHE=NTUNTNKYÿLHMNJFIÿOHJHNPFQIHGÿUVTMZ
{rÿvu ;<=><<?@=ABC
}|yvsx            <
vu
}|ytxÿxÿ
M^bCAAaÿS`_ÿLabA^CÿQ^Cÿÿÿÿ ÿÿ¡¢¢£ÿ¤¤¢¥ÿ¦§¨¤©ÿ¢ªÿÿ«©¬ÿ¡¬­¢ª©ÿ®©¬©¯¢°£©ªÿUaC^iÿB\ÿNIINFLÿLXÿTSFIIÿ
B^AC̀ÿ`ÿKHJVLGHE=NTUNTNKYÿLHMNJFIÿOHJHNPFQIHGÿUVTMZÿI[ÿcO^CA^iÿibh^cdf±>²ÿL aÿ̀ ÿGhA\ÿghie^ÿ̀aC^iÿB\ÿJ h^=
JCAaAÿKHJVLGHE=NTUNTNKYÿLHMNJFIÿOHJHNPFQIHGÿUVTMZÿI[ZÿJ h^=M^`^iAÿKHJVLGHE=NTUNTNKYÿLHMNJFIÿOHJHNPFQIHGÿUVTMZ
I[ZÿM^`^iAÿKHJVLGHE=NTUNTNKYÿLHMNJFIÿOHJHNPFQIHGÿUVTMZÿI[XfÿcTSFIIZÿNIINFLf
K^ÿ̀ CCaeÿibh^cdfÿA^ÿAddbaA^iÿaÿadÿAdAba_
}|yvsxÿyu~wx~|sLAaÿM bh^ÿ
³u~´~srµÿ~µsrQ^CÿM^bCAAaÿaÿGh]]ÿ`ÿL[GgX]i`
¶µyxu|s~yÿ|yvsxÿoxrw
±GKFL[ÿBj^b`GA]·NM¸l;@@kÿ±MA^¸l;?;>;;²ÿ±UaC^ThB^¸¹k?<¹;¹k=>
²ÿ±lBBi@k^B`bb?>^Al>>klk`A;>A>l?<@k<b^¹?@?<Bl`B^i??>Abi@B<;^l<?
`?liA^^kbk>@A@`l?k^Bi^>>``b¹?BiiA^A`;ki¹k;ikB`l>^i?¹`@>A`l²²
º»¼½»»¾¿¼rµÿ|x~yÿÀ~µµÿÿµyxu|s~yrµµzÿr~µÿx|ÿ
JIFONGGHÿIXÿJONGSGKSLSÿÿB^AC̀ÿ`ÿN^^d^iÿ[A\ÿOSQHOKÿHXÿFKÁNTGST
bCAadd^ÂW=CA`aXbZÿBjab^dÂW=CA`aXb
RHOFIMÿLÿRSOMSTÿÿB^AC̀ÿ`ÿJ h^=JCAaAÿKHJVLGHE=NTUNTNKYÿLHMNJFIÿOHJHNPFQIHGÿUVTMZÿI[
eeiÂeeXC^eACZÿBjab^dÂeeXC^eAC
RHOFIMÿLÿRSOMSTÿÿB^AC̀ÿ`ÿM^`^iAÿKHJVLGHE=NTUNTNKYÿLHMNJFIÿOHJHNPFQIHGÿUVTMZÿI[
eeiÂeeXC^eACZÿBjab^dÂeeXC^eAC
RFQONHIIHÿFXÿEFLLÿÿB^AC̀ÿ`ÿJ h^=JCAaAÿKHJVLGHE=NTUNTNKYÿLHMNJFIÿOHJHNPFQIHGÿUVTMZÿI[
eAÂW`aXbZÿBjab^dÂeeXC^eAC
RFQONHIIHÿFXÿEFLLÿÿB^AC̀ÿ`ÿJ h^=M^`^iAÿKHJVLGHE=NTUNTNKYÿLHMNJFIÿOHJHNPFQIHGÿUVTMZÿI[
eAÂW`aXbZÿBjab^dÂeeXC^eAC
RFQONHIIHÿFXÿEFLLÿÿB^AC̀ÿ`ÿM^`^iAÿKHJVLGHE=NTUNTNKYÿLHMNJFIÿOHJHNPFQIHGÿUVTMZÿI[
eAÂW`aXbZÿBjab^dÂeeXC^eAC
QFOKÿÁXÿIFOGHTÿÿB^AC̀ÿ`ÿJ h^=JCAaAÿEFGHIHJK=LHMNJFIÿOHJHNPFQIHGÿINKNRFKNSTÿUNTFTJHÿUVTMÿNTKHOTFKNSTFIÿG[
QIFOGHTÂGEHFXIFZÿ¹k;l¹k;>Â`aCaedXibj^BaiXb
QFOKÿÁXÿIFOGHTÿÿB^AC̀ÿ`ÿJ h^=M^`^iAÿEFGHIHJK=LHMNJFIÿOHJHNPFQIHGÿINKNRFKNSTÿUNTFTJHÿUVTMÿNTKHOTFKNSTFIÿG[
QIFOGHTÂGEHFXIFZÿ¹k;l¹k;>Â`aCaedXibj^BaiXb
QFOKÿÁXÿIFOGHTÿÿB^AC̀ÿ`ÿ[CAaà`ÿEFGHIHJK=LHMNJFIÿOHJHNPFQIHGÿINKNRFKNSTÿUNTFTJHÿUVTMÿNTKHOTFKNSTFIÿG[
QIFOGHTÂGEHFXIFZÿ¹k;l¹k;>Â`aCaedXibj^BaiXb
LNJEFHIÿMXÿTF[SINÿÿB^AC̀ÿ`ÿJ h^=JCAaAÿKHJVLGHE=NTUNTNKYÿLHMNJFIÿOHJHNPFQIHGÿUVTMZÿI[
abA^CXA]CaÂAj^AXbZ
bai\X̀^ehdÂAj^AXbÃbA^a^Xj^dbAÂAj^AXbÃCAhAXAW^AdÂAj^AXbÃAd^ibj^CaÂAj^AXbÃ^^dAXBA^AÂAj^AXb
LNJEFHIÿMXÿTF[SINÿÿB^AC̀ÿ`ÿM^`^iAÿKHJVLGHE=NTUNTNKYÿLHMNJFIÿOHJHNPFQIHGÿUVTMZÿI[
abA^CXA]CaÂAj^AXbZ
bai\X̀^ehdÂAj^AXbÃbA^a^Xj^dbAÂAj^AXbÃCAhAXAW^AdÂAj^AXbÃAd^ibj^CaÂAj^AXbÃ^^dAXBA^AÂAj^AXb
NIINFLÿLXÿTSFIIÿÿB^AC̀ÿ`ÿM^`^iAÿKHJVLGHE=NTUNTNKYÿLHMNJFIÿOHJHNPFQIHGÿUVTMZÿI[
ACCÂeeXC^eACZÿBjab^dÂeeXC^eAC
FONHIÿHXÿGKHOTÿÿB^AC̀ÿ`ÿM^`^iAÿKHJVLGHE=NTUNTNKYÿLHMNJFIÿOHJHNPFQIHGÿUVTMZÿI[
6111!1"#$%&'((078)88)&80'                                                                            &12
01231224ÿ3678ÿ9       Case 21-01167-abl              Doc 96                 ÿ 16:17:36
                                                                Entered 09/02/22             Page 7 of 13
*+,-./01-+23*4-+5*2/6758ÿ*4-+5*2.*03*4-+5*2/675
:;<=;;>?<@ABÿDEFGHIÿJGBBÿKEFÿAIÿIBIHFLEKGH@BBMÿN@GBIOÿFEPÿ




6111!1"#$%&'((078)88)&80'                                               212
         Case 21-01167-abl          Doc 96     Entered 09/02/22 16:17:36           Page 8 of 13




                                          U.S.BankruptcyCourt

                                             DistrictofNevada

NoticeofElectronicFiling

ThefollowingtransactionwasreceivedfromWILLIAMM.NOALLenteredon8/26/2022at7:10PMPDT
andfiledon8/26/2022
                  HASELECTͲMEDICALRECEIVABLESLITIGATIONFINANCEFUv.TECUMSEHͲINFINITY
CaseName:
                  MEDICALRECEIVABLESFUND,LP
CaseNumber: 21Ͳ01167Ͳabl      




Document
                  92
Number:

DocketText:
DocumentStatementofUndisputedFactsinSupportofMotionforPartialSummaryJudgmentasto
DirectPurchaseReceivablesFiledbyWILLIAMM.NOALLonbehalfofTECUMSEHͲINFINITYMEDICAL
RECEIVABLESFUND,LP(Relateddocument(s)[90]MotionforSummaryJudgmentfiledbyCounterͲ
ClaimantTECUMSEHͲINFINITYMEDICALRECEIVABLESFUND,LP,CounterͲDefendantTECUMSEHͲ
INFINITYMEDICALRECEIVABLESFUND,LP,DefendantTECUMSEHͲINFINITYMEDICALRECEIVABLES
FUND,LP.)(Attachments:#(1)AppendixAppendixofExhibits#(2)ExhibitA#(3)ExhibitB#(4)ExhibitC
#(5)ExhibitD#(6)ExhibitE#(7)ExhibitF#(8)ExhibitG#(9)ExhibitH)(NOALL,WILLIAM)

Thefollowingdocument(s)areassociatedwiththistransaction:

Documentdescription:MainDocument
Originalfilename:SOUF.pdf
ElectronicdocumentStamp:
[STAMPbkecfStamp_ID=989277954[Date=8/26/2022][FileNumber=34613240Ͳ0
][f89ed64085e7762b00fdb54c9b9d9469bfb82a6ac91d020a538f692bbe262796d0d
b14551a4b9d4fabc1b13cda40e588a234c3d8a0a09ef3888142c52c691d2b]]
Documentdescription:AppendixAppendixofExhibits
Originalfilename:C:\fakepath\AppendixofExhibitsISOMotionforPartialSummaryJudgment
(002).pdf
ElectronicdocumentStamp:
[STAMPbkecfStamp_ID=989277954[Date=8/26/2022][FileNumber=34613240Ͳ1
][72fa2faf8c7b1cda29cdbf4f3d6fe7e647e3dcc77ab798145ae8edd4c9da797254b
78df2e903dff0670e369bf0d6a848b8b269d96f1e85c412630c329fc25613]]
Documentdescription:ExhibitA
Originalfilename:C:\fakepath\ExhibitAͲExcerptsfromthedepositionofOliverHemmer1.pdf
ElectronicdocumentStamp:
[STAMPbkecfStamp_ID=989277954[Date=8/26/2022][FileNumber=34613240Ͳ2
][92bf9e8d86857c12343ea9d6027476aa028d9449246e20302b8a4915fbcd527b1e4
431d6280996505211ac544bbe4965f16db98ffda86b304c75b908dcc77eb7]]
Documentdescription:ExhibitB
Originalfilename:C:\fakepath\ExhibitBͲSubͲAdvisoryAgreement.pdf
ElectronicdocumentStamp:
        Case 21-01167-abl        Doc 96      Entered 09/02/22 16:17:36         Page 9 of 13




 [STAMPbkecfStamp_ID=989277954[Date=8/26/2022][FileNumber=34613240Ͳ3
 ][b2b7b41c27747bb30e185fd86be88c8f2a4627545cc00328d6b8e8425a474f77baf
 13da5f61fb7f6c869cce3831fec2aa6410c3dc19967cd0b98d4cd830552e1]]
 Documentdescription:ExhibitC
 Originalfilename:C:\fakepath\ExhibitCͲReferralfromTheInjurySpecialists.pdf
 ElectronicdocumentStamp:
 [STAMPbkecfStamp_ID=989277954[Date=8/26/2022][FileNumber=34613240Ͳ4
 ][fabe5440ac4972b29afda2175a7a8e97fba70ce63fd751823d9ae71548b2f5e407c
 730cb1cb5ef63c9b0c1fa1f233c8d2c6dccba04a803051e957426c233bcb6]]
 Documentdescription:ExhibitD
 Originalfilename:C:\fakepath\ExhibitDͲPreauthorizationLetter.pdf
 ElectronicdocumentStamp:
 [STAMPbkecfStamp_ID=989277954[Date=8/26/2022][FileNumber=34613240Ͳ5
 ][d084815c6075daf8f4ee52af799a7ca4ccb6d949de4737e99759514e9593ef75eaf
 4d30020f0d1e44a6ec60e01819bfa561eff69307f85f95cf4a3fd483bc47d]]
 Documentdescription:ExhibitE
 Originalfilename:C:\fakepath\ExhibitEͲClaimForm.pdf
 ElectronicdocumentStamp:
 [STAMPbkecfStamp_ID=989277954[Date=8/26/2022][FileNumber=34613240Ͳ6
 ][9446754f856cbfe82cef48c12e9ebe089c271ec257bcaac331de9d72db72ca23c64
 0ca06e01880697d64c0d891cbc6e8f17f8844fc3ec086c07ec1b10eebf7ef]]
 Documentdescription:ExhibitF
 Originalfilename:C:\fakepath\ExhibitFͲReconciliationtoDebtorsBankofAmericaAccount
 Statements.PDF
 ElectronicdocumentStamp:
 [STAMPbkecfStamp_ID=989277954[Date=8/26/2022][FileNumber=34613240Ͳ7
 ][382d59d91b34752e685846c780f8d751841db1cfebc0a0195593e913ab1fa08a2b0
 42c14de8704ff8b30e14dcef1de69a5a02646127983d93510c491863681c5]]
 Documentdescription:ExhibitG
 Originalfilename:C:\fakepath\ExhibitGͲBankofAmericaAccountStatements(October2020
 September2021).pdf
 ElectronicdocumentStamp:
 [STAMPbkecfStamp_ID=989277954[Date=8/26/2022][FileNumber=34613240Ͳ8
 ][72f8ff9c6b6f436751c44ae6c47327a45ee6cc8958de5435318666988f8bc624188
 6d35ff49ae6c5fcec9866a7e70f8927460a8ac0e5c8f1219f773932df8268]]
 Documentdescription:ExhibitH
 Originalfilename:C:\fakepath\ExhibitHͲEmailCorrespondence.PDF
 ElectronicdocumentStamp:
 [STAMPbkecfStamp_ID=989277954[Date=8/26/2022][FileNumber=34613240Ͳ9
 ][bfedbfea51ad6350346ed998c837378d83effdcb5cde4f31660e86526ee60c44833
 9286d61f7afa5486ca2f3835908305aeb6a8a4a8e1da3faa7e133c3f95176]]

21Ͳ01167ͲablNoticewillbeelectronicallymailedto:

CLARISSEL.CRISOSTOMOonbehalfofInterestedPartyROBERTE.ATKINSON
clarisse@nvͲlawfirm.com,bknotices@nvͲlawfirm.com

       Case 21-01167-abl      Doc 96    Entered 09/02/22 16:17:36      Page 10 of 13




GERALDMGORDONonbehalfofCounterͲClaimantTECUMSEHͲINFINITYMEDICALRECEIVABLESFUND,
LP
ggordon@gtg.legal,bknotices@gtg.legal

GERALDMGORDONonbehalfofDefendantTECUMSEHͲINFINITYMEDICALRECEIVABLESFUND,LP
ggordon@gtg.legal,bknotices@gtg.legal

GABRIELLEA.HAMMonbehalfofCounterͲClaimantTECUMSEHͲINFINITYMEDICALRECEIVABLESFUND,
LP
ghamm@nvfirm.com,bknotices@gtg.legal

GABRIELLEA.HAMMonbehalfofCounterͲDefendantTECUMSEHͲINFINITYMEDICALRECEIVABLES
FUND,LP
ghamm@nvfirm.com,bknotices@gtg.legal

GABRIELLEA.HAMMonbehalfofDefendantTECUMSEHͲINFINITYMEDICALRECEIVABLESFUND,LP
ghamm@nvfirm.com,bknotices@gtg.legal

BARTK.LARSENonbehalfofCounterͲClaimantHASELECTͲMEDICALRECEIVABLESLITIGATIONFINANCE
FUNDINTERNATIONALSP
BLARSEN@SHEA.LAW,3542839420@filings.docketbird.com

BARTK.LARSENonbehalfofCounterͲDefendantHASELECTͲMEDICALRECEIVABLESLITIGATIONFINANCE
FUNDINTERNATIONALSP
BLARSEN@SHEA.LAW,3542839420@filings.docketbird.com

BARTK.LARSENonbehalfofPlaintiffHASELECTͲMEDICALRECEIVABLESLITIGATIONFINANCEFUND
INTERNATIONALSP
BLARSEN@SHEA.LAW,3542839420@filings.docketbird.com

MICHAELD.NAPOLIonbehalfofCounterͲClaimantTECUMSEHͲINFINITYMEDICALRECEIVABLESFUND,
LP
michael.napoli@akerman.com,
cindy.ferguson@akerman.com;catherine.kretzschmar@akerman.com;laura.taveras@akerman.com;mas
terdocketlit@akerman.com;teresa.barrera@akerman.com

MICHAELD.NAPOLIonbehalfofDefendantTECUMSEHͲINFINITYMEDICALRECEIVABLESFUND,LP
michael.napoli@akerman.com,
cindy.ferguson@akerman.com;catherine.kretzschmar@akerman.com;laura.taveras@akerman.com;mas
terdocketlit@akerman.com;teresa.barrera@akerman.com

WILLIAMM.NOALLonbehalfofDefendantTECUMSEHͲINFINITYMEDICALRECEIVABLESFUND,LP
wnoall@gtg.legal,bknotices@gtg.legal

ARIELE.STERNonbehalfofDefendantTECUMSEHͲINFINITYMEDICALRECEIVABLESFUND,LP
ariel.stern@akerman.com,akermanlas@akerman.com

        Case 21-01167-abl         Doc 96     Entered 09/02/22 16:17:36   Page 11 of 13




21Ͳ01167ͲablNoticewillnotbeelectronicallymailedto:

                      Case 21-01167-abl                 Doc 96      Entered 09/02/22 16:17:36        Page 12 of 13
File a Notice:
21-01167-abl HASELECT-MEDICAL RECEIVABLES LITIGATION FINANCE FU v. TECUMSEH-INFINITY MEDICAL RECEIVABLES FUND, LP
Type: ap                  Office: 2 (Las Vegas)    Judge: abl
Lead Case: 2-21-bk-14486

                                                                  U.S. Bankruptcy Court

                                                                    District of Nevada

Notice of Electronic Filing

The following transaction was received from WILLIAM M. NOALL entered on 8/31/2022 at 3:43 PM PDT and filed on 8/31/2022
                     HASELECT-MEDICAL RECEIVABLES LITIGATION FINANCE FU v. TECUMSEH-INFINITY MEDICAL RECEIVABLES FUND,
Case Name:
                     LP
Case Number:         21-01167-abl
Document
                     93
Number:

Docket Text:
Notice of Hearing NOTICE OF REMOTE HEARING REGARDING TECUMSEHINFINITY MEDICAL RECEIVABLE FUND, LP MOTION FOR PARTIAL
SUMMARY JUDGMENT AS TO DIRECT PURCHASE RECEIVABLES [ECF 90] Hearing Date: 10/25/2022 Hearing Time: 1:30 p.m. Filed by WILLIAM M.
NOALL on behalf of TECUMSEH-INFINITY MEDICAL RECEIVABLES FUND, LP (Related document(s)[90] Motion for Summary Judgment filed by
Counter-Claimant TECUMSEH-INFINITY MEDICAL RECEIVABLES FUND, LP, Counter-Defendant TECUMSEH-INFINITY MEDICAL RECEIVABLES
FUND, LP, Defendant TECUMSEH-INFINITY MEDICAL RECEIVABLES FUND, LP) (NOALL, WILLIAM)

The following document(s) are associated with this transaction:

Document description:Main Document
Original filename:NOH re dkt 0090.pdf
Electronic document Stamp:
[STAMP bkecfStamp_ID=989277954 [Date=8/31/2022] [FileNumber=34620183-0
] [952fc90c89048186166bb9a0766de050df948f2e435780736b14b7935b345d93f50
10f2ab9f8294b312449832117a1410391d8f720cbd799ae57d75d832192bb]]

21-01167-abl Notice will be electronically mailed to:

CLARISSE L. CRISOSTOMO on behalf of Interested Party ROBERT E. ATKINSON
clarisse@nv-lawfirm.com, bknotices@nv-lawfirm.com

GERALD M GORDON on behalf of Counter-Claimant TECUMSEH-INFINITY MEDICAL RECEIVABLES FUND, LP
ggordon@gtg.legal, bknotices@gtg.legal

GERALD M GORDON on behalf of Defendant TECUMSEH-INFINITY MEDICAL RECEIVABLES FUND, LP
ggordon@gtg.legal, bknotices@gtg.legal

GABRIELLE A. HAMM on behalf of Counter-Claimant TECUMSEH-INFINITY MEDICAL RECEIVABLES FUND, LP
ghamm@nvfirm.com, bknotices@gtg.legal

GABRIELLE A. HAMM on behalf of Counter-Defendant TECUMSEH-INFINITY MEDICAL RECEIVABLES FUND, LP
ghamm@nvfirm.com, bknotices@gtg.legal

GABRIELLE A. HAMM on behalf of Defendant TECUMSEH-INFINITY MEDICAL RECEIVABLES FUND, LP
ghamm@nvfirm.com, bknotices@gtg.legal

BART K. LARSEN on behalf of Counter-Claimant HASELECT-MEDICAL RECEIVABLES LITIGATION FINANCE FUND INTERNATIONAL SP
BLARSEN@SHEA.LAW, 3542839420@filings.docketbird.com

BART K. LARSEN on behalf of Counter-Defendant HASELECT-MEDICAL RECEIVABLES LITIGATION FINANCE FUND INTERNATIONAL SP
BLARSEN@SHEA.LAW, 3542839420@filings.docketbird.com

BART K. LARSEN on behalf of Plaintiff HASELECT-MEDICAL RECEIVABLES LITIGATION FINANCE FUND INTERNATIONAL SP
BLARSEN@SHEA.LAW, 3542839420@filings.docketbird.com

MICHAEL D. NAPOLI on behalf of Counter-Claimant TECUMSEH-INFINITY MEDICAL RECEIVABLES FUND, LP
michael.napoli@akerman.com,
cindy.ferguson@akerman.com;catherine.kretzschmar@akerman.com;laura.taveras@akerman.com;masterdocketlit@akerman.com;teresa.barrera@akerman.com

MICHAEL D. NAPOLI on behalf of Defendant TECUMSEH-INFINITY MEDICAL RECEIVABLES FUND, LP
michael.napoli@akerman.com,
cindy.ferguson@akerman.com;catherine.kretzschmar@akerman.com;laura.taveras@akerman.com;masterdocketlit@akerman.com;teresa.barrera@akerman.com

WILLIAM M. NOALL on behalf of Counter-Claimant TECUMSEH-INFINITY MEDICAL RECEIVABLES FUND, LP
wnoall@gtg.legal, bknotices@gtg.legal
                     Case 21-01167-abl                Doc 96   Entered 09/02/22 16:17:36   Page 13 of 13
WILLIAM M. NOALL on behalf of Counter-Defendant TECUMSEH-INFINITY MEDICAL RECEIVABLES FUND, LP
wnoall@gtg.legal, bknotices@gtg.legal

WILLIAM M. NOALL on behalf of Defendant TECUMSEH-INFINITY MEDICAL RECEIVABLES FUND, LP
wnoall@gtg.legal, bknotices@gtg.legal

ARIEL E. STERN on behalf of Defendant TECUMSEH-INFINITY MEDICAL RECEIVABLES FUND, LP
ariel.stern@akerman.com, akermanlas@akerman.com

21-01167-abl Notice will not be electronically mailed to:
